UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

 

In re:
Northpoint Communications of Virginia Case No: 01-30125 STC
Inc.

Debtor(S)
APPLICATION FOR UNCLAIMED FUNDS

Dilks & Knopik, LLC, attorney-in-fact for Towers Watson & Co., claimant,
hereby petitions the Court for $6419.74, Which is the sum of all monies being held in the
Registry of the Clerk, United States Banl<ruptcy Court, as unclaimed Mnds, which are

due to Watson Wyatt & Co., creditor.
The creditor did not receive the dividend check in the above case for the

following reason:

The original dividend check was sent to a Watson Wyatt & Co. Watson Wyatt & Co.
merged with Towers Perrin to become Towers Watson & Co., as evidenced by Exhibit A.
Ruth E. Skolnick was an employee of Watson Wyatt & Co., as evidenced by Exhibit B.
Proof of Address is marked as “Exhibit C”.

The Creditor’s mailing address at the time the claim was filed with the Court was:

Watson Wyatt & Co.
Attn: Ruth E. Skolnick
1717 H. St. NW
Wasbington DC 20006

The claimant’s current mailing address is:

Towers Watson & Co.

Rebecca Grey Finance Manager

901 N. Glebe Rd

Arlington, VA 222()3

703-258-8196 SM

Last four digits of SS#/Tax ID: 1291

Dated: September 24, 2013

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allan J.“§lrks
Dilks & Knopik, LLC

35308 SE Center St, Snoqualmie WA 98065
(425) 836-5728

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Subscribed and Sworn Before Me this ’2 12 ‘w` day of §£@ -i~éw;.i‘:l€f , 20 l'?§::»
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Andrew T. Drake, Notary Public
My commission expires: August 9, 2015
Notary in and for the State of Washington

 

 

 

 

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